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UNITED STATES DISTRICT COURT                                                   :
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SOUTHERN DISTRICT OF NEW YORK
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 CANDI STATON PRODUCTIONS, INC.,


                                          Plaintiff(s),
                                                                           No. -1lL Civ.         11989 (RA)
                            -v-
                                                                      CASE MANAGEMENT PLAN AND
     WARNER BROS. RECORDS, INC.
                                                                           SCHEDULING ORDER

                                          Defendant(s ).

----------------------------------------------------------- X

RONNIE ABRAMS, United States District Judge:

         Pursuant to Rules l 6-26(f) of the Federal Rules of Civil Procedure, the Court hereby

adopts the following Case Management Plan and Scheduling Order:

I.       All parties [consent _ _ / do not consent _x__) to conducting all further proceedings
         before a United States Magistrate Judge, including motions and trial. 28 U.S.C. § 636(c).
         The parties are free to withhold consent without adverse substantive consequences. [.lf all
         parties consent, the remainder of the Order need not be completed at this time.]

2.       The parties [have _x_ / have not                  ] engaged in settlement discussions.

3.       This case [is _x______ / is not           ] to be tried to a jury.

4.       No additional parties may be joined after __5-/~J-12~D~J~9_ _ _ _ _ _ _ without leave of
         the Court.

5.       No amendments to the pleadings may be made after __6=/~J~/2-D~J~9_ _ _ _ _ __
         without leave of the Court.

6.       Initial disclosures pursuant to Rule 26(a)(l) of the Federal Rules of Civil Procedure shall
         be completed no later than 3/22/2019                         . [Absent exceptional
         circumstances, within fourteen (14) days of the date of the parties' coriference pursuant
         to Rule 26Cf).]

7.       All fact discovery is to be completed no later than                  7/5/2019                          . [A
         p7ii-70d-YlOi-iO _ _excei!d 120 days Urlle~-:s the-c;ase-pese-nt~· unique co,n]JliXitieS or-Other -- ----------------
         exceptional circumstances.]
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8.    The parties are to conduct discovery in accordance with the Federal Rules of Civil
      Procedure and the Local Rules of the Southern District of New York. The following
      interim deadlines may be extended by the parties on consent without application to the
      Court, provided that the parties meet the deadline for completing fact discovery set forth
      in ,r 7 above.

      a.           Initial requests for production of documents shall be served by    4/8/2019

      b.           Interrogatories shall be served by         4/8/2019

      c.           Depositions shall be completed by          7/5/2019

      d.           Requests to Admit shall be served no later than        7/5/2019

9.    All expert discovery, including disclosures, reports, production of underlying documents,
      and depositions shall be completed by        1Q/5/2019                 . [The parties shall
      be prepared to describe their contemplated expert discovery and the bases for their
      proposed deadlines at the initial conference.]

10.   All discovery shall be completed no later than               10/5/2019

11.   The Court will conduct a posfr~scovery conference on           1       1 hi/t               at
          /4: ; 0 "·"" . [To be completed by the Court.] No later than one week in advance of
      the conference, the parties are to submit a joint letter updating the Court on the status of
      the case, including but not limited to whether either party intends to file a dispositive
      motion and what efforts the parties have made to settle the action.

12.   Unless otherwise ordered by the Court, the joint pretrial order and additional submissions
      required by Rule 6 of the Court's Individual Rules and Practices shall be due thirty (30)
      days from the close of discovery. or if any dispositive motion is filed, thirty (30) days
      from the Court's decision on such motion. This case shall be trial ready sixty (60) days
      from the close of discovery or the Court's decision on any dispositive motion.

13.   Counsel for the parties propose the following alternative dispute resolution mechanism
      for this case:

            a. _x___ Referral to a Magistrate Judge for settlement discussions.

            b. _ _ Referral to the Southern District's Mediation Program. [Note that all
               employment discrimination cases, except cases brought under the Fair Labor
               Standards Act of 1938, 29 US.C. § 201 et seq., are designated for automatic
               referral to the Court's Alternative Dispute Resolution program of mediation.
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               Accordingly, counsel in such cases should select 13(b).]
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            c. _ _ Retention of a private mediator.



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         The use of any alternative dispute resolution mechanism does not stay or modify any date
         in this Order.

14.      The parties have conferred and their present best estimate of the length of trial is
           3-5 days
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SO ORDERED.         r r ~ fo      /It   t vYkf' [,."",A-.,

Dated:
                 Al!J!, fibw~o~~
                                                             Ronnie Abrams
                                                             United States District Judge




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